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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                      GREAT FALLS MONTANA

UNITED STATES OF AMERICA,                    Case No. CR 19-84-GF-BMM-2

                Plaintiff,
                                            ORDER VACATING TRIAL DATE
vs.                                         AND SETTING CHANGE OF
                                            PLEA HEARING
OMERO BANDERAS-RODRIGUEZ,

               Defendant.

      Defendant, having filed a Motion to Enter Guilty Plea;

      IT IS HEREBY ORDERED that the final pretrial conference and jury trial in

this matter for this Defendant, are VACATED;

      IT IS FURTHER HEREBY ORDERED that a Change of Plea Hearing shall

be and is hereby scheduled for Thursday, February 6, 2020 at 1:30 p.m.

      DATED this 28th day of January, 2020




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